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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       CITY AND COUNTY OF SAN                            Case No. 25-cv-01350-WHO
                                           FRANCISCO, et al.,
                                   8                    Plaintiffs,                          ORDER REGARDING DISPUTES
                                   9                                                         OVER PROPRIETY OF STANDARD
                                                  v.                                         CONDITIONS ON FEDERAL GRANTS
                                  10
                                           DONALD J. TRUMP, et al.,                          Re: Dkt. No. 143
                                  11                    Defendants.
                                  12
Northern District of California




                                               On April 24, 2025, I issued an Order Granting Preliminary Injunction to enjoin the
 United States District Court




                                  13
                                       defendants1 from taking any action to withhold from, freeze, or condition federal funds to the
                                  14
                                       Cities and Counties2 (the plaintiffs in this case) based on (1) the first sentence of Section 17 of
                                  15
                                       Executive Order 14,159, (2) Section 2(a)(ii) of Executive Order 14,218, or (3) the Preamble and
                                  16
                                       Section I of the February 5, 2025, Memorandum from the Attorney General entitled “Sanctuary
                                  17
                                       Jurisdictions Directives.” Dkt. No. 111 (Order Granting Preliminary Injunction). I described in
                                  18
                                       detail in my Further Order Regarding Preliminary Injunction on May 3, 2025, the many ways in
                                  19

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                                       1
                                  21     Defendants are Donald J. Trump, President of the United States; the United States; the United
                                       States Department of Justice; Pamela Bondi in her official capacity as Attorney General of the
                                  22   United States; Emil Bove in his capacity as Acting Deputy Attorney General of the United States;
                                       the United States Department of Homeland Security; and Kristi Noem in her official capacity as
                                  23   Secretary of the Department of Homeland Security. The Preliminary Injunction enjoins the
                                       defendants and their officers, agents, servants, employees, and attorneys, as well as any other
                                  24   persons in active concert or participation with them.

                                  25
                                       2
                                         Plaintiffs are City and County of San Francisco (“San Francisco”), County of Santa Clara
                                       (“Santa Clara”), City of Portland (“Portland”), Martin Luther King, Jr. County (“King County”),
                                  26   City of New Haven (“New Haven”), City of Oakland (“Oakland”), City of Emeryville
                                       (“Emeryville”), City of San Jose (“San Jose”), City of San Diego (“San Diego”), City of
                                  27   Sacramento (“Sacramento”), City of Santa Cruz (“Santa Cruz”), County of Monterey
                                       (“Monterey”), City of Seattle (“Seattle”), City of Minneapolis (“Minneapolis”), City of St. Paul
                                  28   (“St. Paul”), and City of Santa Fe (“Santa Fe”).
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                                   1   which those Executive Orders and threatened actions were likely unconstitutional and illegal under

                                   2   the Separation of Powers doctrine, the Fifth Amendment’s Due Process Clause, the Tenth

                                   3   Amendment, and the Administrative Procedure Act (“APA”). Dkt. No. 126 (Further Order). In

                                   4   the Order Clarifying Preliminary Injunction on May 9, 2025, I emphasized that other Executive

                                   5   Orders and actions by government agencies could not evade the strictures of the Preliminary

                                   6   Injunction simply because they used different language or occurred after the Preliminary

                                   7   Injunction went into effect. Dkt. No. 136 (Order Clarifying Preliminary Injunction). It “reaches

                                   8   any subsequent Executive Order or Government action that poses the same coercive threat.” Id.

                                   9   4.3

                                  10          In their joint letter brief dated June 13, 2025, the parties clashed over whether grant

                                  11   conditions imposed by the Department of Homeland Security (“DHS”), the Department of

                                  12   Transportation (“DOT”), and the Department of Housing and Urban Development (“HUD”) fall
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                                  13   within the scope of the Preliminary Injunction insofar as they implement the enjoined sections of

                                  14   Executive Order 14,159 (“EO 14,159”) and Executive Order 14,218 (“EO 14,218”) to impose

                                  15   immigration-related conditions upon grants to sanctuary jurisdictions. Dkt. No. 143 (Joint Letter

                                  16   Brief). I would have thought the answer was obvious. The identified provisions in the DHS and

                                  17   DOT Standard Terms may not be applied in the blunderbuss way that Secretaries Noem and Duffy

                                  18   have directed.4 Conditions placed on congressional spending must have some nexus with the

                                  19   purpose of the implicated funds. See Further Order at 50-51; see also Cnty. of Santa Clara v.

                                  20   Trump, 250 F. Supp. 3d 497, 532 (N.D. Cal. Apr. 25, 2017), aff’d, City & Cnty. of S.F. v. Trump,

                                  21   897 F.3d 1225, 1234–35 (9th Cir. 2018). They impose ill-defined immigration conditions upon

                                  22

                                  23   3
                                        Defendants filed a Notice of Appeal of the Preliminary Injunction, the Further Order, and the
                                  24   Order Clarifying Preliminary Injunction on June 19, 2025. Dkt. No. 146 (Notice of Appeal).

                                  25
                                       4
                                         I previously explained that the Preliminary Injunction was “not designed to freeze litigation over
                                       the propriety of ‘sanctuary’ policies or immigration-related conditions on particular government
                                  26   grants and contracts.” Dkt. No. 136 (Order Clarifying Preliminary Injunction) 4. There may be
                                       individual law enforcement grant programs, for example, that have a sufficient relationship to the
                                  27   sanctuary jurisdiction policies that immigration-related conditions may be legal. That is a
                                       different matter altogether than efforts like the Executive Orders and challenged standard terms
                                  28   and conditions to coerce the Cities and Counties to change their so-called sanctuary policies.

                                                                                         2
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                                   1   grants that have no evident nexus with the plaintiffs’ so-called “sanctuary” policies.

                                   2          The Preliminary Injunction enjoins the DHS and DOT standard terms and conditions from

                                   3   applying to grants issued to the plaintiff Cities and Counties that are implemented by DHS and

                                   4   DOT. The HUD Continuum of Care grant terms and conditions appear to be inconsistent with the

                                   5   Preliminary Injunction as well.

                                   6          The plaintiffs also ask that I order the defendants to produce copies of the court-ordered

                                   7   notice that they have provided to federal agencies. Given the defendants’ apparent unwillingness

                                   8   to comply or confusion about their obligations under the Preliminary Injunction, the defendants

                                   9   shall provide the Cities and Counties copies of the notices as requested no later than July 2, 2025.

                                  10   I.      DHS STANDARD TERMS
                                  11          On April 18, 2025, DHS issued standard terms and conditions (the “DHS Standard

                                  12   Terms”) that apply to “all new federal awards” in Fiscal Year 2025 and include numerous
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                                  13   immigration conditions that reflect the enjoined language of EO 14,218. See Dkt. No. 143,

                                  14   Attachment B. Section IX of the DHS Standard Terms (entitled “Communication and

                                  15   Cooperation with [DHS] and Immigration Officials”) requires grant recipients to certify five

                                  16   different immigration conditions, the language of each of which evidences their connection to the

                                  17   enjoined Orders. Compare Dkt. No. 143, Attachment B (DHS Standard Terms, Section IX), with

                                  18   EO 14,159, Section 17 (directing the Attorney General and DHS Secretary to condition Federal

                                  19   funds to so-called “sanctuary” jurisdictions on compliance with federal immigration law), and EO

                                  20   14,218 Section 2 (directing agency and executive department heads to “ensure . . . that Federal

                                  21   payments to States and localities do not . . . abet so-called ‘sanctuary’ policies that seek to shield

                                  22   illegal aliens from deportation.”).5

                                  23          Although the DHS Standard Terms apply to “all new federal awards,” the defendants

                                  24   contend that the conditions will only apply based on individualized assessments of different

                                  25   federal grants. I do not credit that representation for at least two reasons.

                                  26
                                       5
                                  27    In the Further Order, I referenced the DHS Standard Terms and HUD Continuum of Care grants,
                                       among other things, as evidence that the federal government had already taken steps to try to
                                  28   implement EO 14,159 and EO 14,218. See Further Order 5-7.

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                                   1          First, the promise—articulated in both the defendants’ letter brief and in a June 11, 2025,

                                   2   DHS website update6—echoes the savings clauses I already rejected as insufficient to insulate the

                                   3   2025 Executive Orders from judicial scrutiny. See Further Order 41, 47-48. Here, as there, the

                                   4   “clear and specific language” of the DHS Standard Terms communicates DHS’s intent to apply

                                   5   those terms to “all new federal awards.” Even if I were to interpret the June 11, 2025, DHS

                                   6   website update as a formal savings clause (which I am not inclined to do, given the relative

                                   7   informality of a sentence on a website compared to adopted agency terms and conditions), when

                                   8   read in context, the clause cannot be given effect because to do so would “override clear and

                                   9   specific language” found in the DHS Standard Terms. See Further Order 48 (quoting City & Cnty.

                                  10   of S.F. v. Trump, 897 F.3d 1225, 1239-40 (9th Cir. 2018)).

                                  11          Second, DHS’s conduct belies its representation. DHS has already acted as though the

                                  12   immigration conditions in its Standard Terms may be applied to grants with no nexus to
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                                  13   immigration or so-called “sanctuary” policies. A March 20, 2025, memo from a senior FEMA

                                  14   administrator to DHS Secretary Noem is a good example. In the memo, FEMA sought approval

                                  15   of its review process and parameters of its grant programs “to align with Administration and

                                  16   Secretary priorities on non-governmental organizations, immigration, and sanctuary jurisdictions.”

                                  17   Dkt. No. 143, Attachment D (March 20, 2025, FEMA memo). The memo, which DHS Secretary

                                  18   Noem approved, acknowledges that immigration conditions may be applied to the Emergency

                                  19   Management Performance Grant (“EMPG”), State Homeland Security Grant Program (“HSGP”),

                                  20   and Urban Area Security Initiative (“UASI”) grants. Id.

                                  21          Declarations from various city officials submitted alongside the Cities and Counties’

                                  22   Preliminary Injunction Motion indicate that these grants are used for emergency preparedness,

                                  23   which has no nexus to immigration enforcement. See Declaration of Brendan McClusky [Dkt. No.

                                  24   61-5] ¶¶ 8-11 (describing how King County relies on EMPG, HSGP, and UASI grants to prepare

                                  25   the region against terrorist attacks); Declaration of Patricia Cole-Tindall [Dkt. No. 61-6] ¶¶ 14-19

                                  26
                                  27   6
                                        The DHS website states that “[n]ot all of DHS’s Standard Terms and Conditions apply to every
                                  28   DHS grant program[].” DHS Website, https://www.dhs.gov/publication/dhs-standard-terms-and-
                                       conditions, last updated June 11, 2025, last accessed June 18, 2025.
                                                                                         4
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                                   1   (describing how the King County Sheriff’s Office employs UASI Grants, which are awarded to

                                   2   “assist high-threat, high-density Urban Areas efforts to build, sustain, and deliver the capabilities

                                   3   necessary to prevent, prepare for, protect against, and respond to acts of terrorism,” to train

                                   4   aviation aircrews, conduct joint agency drills and use small unmanned aerial systems (SUAS)

                                   5   which are important anti-terrorism tools); Declaration of Maria Oberg [Dkt. No. 71] ¶ 4(k)

                                   6   (describing how the City of San Jose uses the UASI grant to help local agencies “prepare for and

                                   7   respond to terrorism”).

                                   8          The DHS Standard Terms are exactly what the Preliminary Injunction is designed to

                                   9   prohibit. This is not to say that the terms cannot be imposed on individual grants with a

                                  10   meaningful nexus to sanctuary jurisdiction policies. The defendants point to the Targeted

                                  11   Violence and Terrorism Prevention Grant Program (“TVTP”) as an example of the type of grant

                                  12   the Preliminary Injunction should not reach. Dkt. No. 143 at 6. DHS authorizes and appropriates
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                                  13   funds for TVTP annually; TVTP grant awards are discretionary and competitive, and they lack

                                  14   statutory award criteria. Litigation may be necessary to determine whether the challenged

                                  15   immigration conditions are appropriate to that grant program, and nothing in the Preliminary

                                  16   Injunction Order precludes defendants from trying to impose them on an individual basis. And

                                  17   that is precisely the point: on a case-by-case basis, the Trump administration may attempt to apply

                                  18   immigration conditions as long as there exists a substantive relationship between the conditions

                                  19   and the grant upon which they are to be imposed. But defendants cannot pretend, as they do now,

                                  20   that they are assessing the relationship between immigration conditions on federal funding and the

                                  21   programs those funds enable in a manner that is consistent with the Constitution and the APA,

                                  22   when the defendants apply those conditions to FEMA or, as will be seen below, the DOT

                                  23   infrastructure projects. Applying immigration conditions to all new federal awards without regard

                                  24   to whether those awards enjoy a real nexus to so-called “sanctuary” policies violates the

                                  25   Preliminary Injunction.

                                  26   II.    DOT STANDARD TERMS
                                  27          On April 24, 2025, Secretary of Transportation Secretary Sean Duffy issued a letter (the

                                  28   “Duffy Letter”) that announced DOT’s policy of providing federal funding only to recipients that
                                                                                          5
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                                   1   “cooperate with Federal authorities in the enforcement of Federal law, including cooperating with

                                   2   and not impeding U.S. Immigration and Customs Enforcement (ICE) and other Federal offices and

                                   3   components of the Department of Homeland Security in the enforcement of Federal immigration

                                   4   law.” Dkt. No. 143, Attachment E. The Duffy Letter utilizes language found in EO 14,159.

                                   5   Compare id., with EO 14,159, Section 17 (directing the Attorney General and DHS Secretary to

                                   6   ensure that so-called “sanctuary” jurisdictions, which “seek to interfere with the lawful exercise of

                                   7   Federal law enforcement operations,” “do not receive access to Federal funds.”). The DOT has

                                   8   since included that language in standard terms and template grant agreements employed across

                                   9   various operating administrations, including the Federal Transit Administration (“FTA”), Federal

                                  10   Highway Administration (“FHWA”), Federal Aviation Administration (“FAA”), and Federal

                                  11   Railroad Administration (“FRA”). See Dkt. No. 143, Attachments F-I (collectively, the “DOT

                                  12   Standard Terms.”).
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                                  13          The DOT Standard Terms have made their way into specific grant programs and

                                  14   agreements that the Cities and Counties have received, including grants with no conceivable nexus

                                  15   to sanctuary policies. See id., Attachments J-L. The conditions apply to transportation

                                  16   infrastructure grants; they apply to grants related to railroad crossing studies, bridge

                                  17   improvements, and airport repairs. See e.g., Dkt. No. 143, Attachment K (“Better Utilizing

                                  18   Infrastructure to Leverage Development Grant Agreement,” which has a stated purpose to “fund

                                  19   an eligible project that will have a significant local or regional impact and improve transportation

                                  20   infrastructure[]”), id., Attachment L (“Strengthening Mobility and Revolutionizing

                                  21   Transportation,” or “SMART” grant, which has a stated purpose of providing grants to improve

                                  22   transportation efficiency and safety); see also e.g., id., Attachments F-I.

                                  23          The defendants raise the same argument in defense of the DOT Standard Terms as they do

                                  24   with respect to the DHS Standard Terms: They insist that the immigration conditions will only

                                  25   apply where there is statutory authority. But that is obviously untrue. DOT has included these

                                  26   conditions across a vast array of programs and grants, see e.g. Dkt. No. 143, Attachments F-L: it

                                  27

                                  28
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                                   1   is apparent that they are being applied without meaningful regard to statutory authority.7 These

                                   2   conditions exist to strongarm the Cities and Counties to abandon their policies or face critical

                                   3   infrastructure degradation.

                                   4          I am not the only judge to think so. In the United States District Court for the Western

                                   5   District of Washington, the Hon. Barbara Rothstein recently held that the immigration conditions

                                   6   in the DOT Standard Terms are likely unconstitutional and arbitrary and capricious under the

                                   7   APA. See Martin Luther King, Jr. Cnty. v. Turner, No. 2:25-CV-814, 2025 WL 1582368, at *17

                                   8   (W.D. Wash. June 3, 2025) (“King County”). That injunction applies to six plaintiffs in this action

                                   9   who are also parties to that action: Martin Luther King Jr. County, City and County of San

                                  10   Francisco, County of Santa Clara, City of Minneapolis, City of Portland, and the City of San Jose.

                                  11   Ten other plaintiffs here are not protected by the King County injunction. They are by this one.

                                  12          The defendants speculate that there may be programs for which immigration conditions
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                                  13   like those found in the DOT Standard Terms are appropriate. They did not provide an example. If

                                  14   there is one, the challenged immigration conditions may be applied. But just because the

                                  15   conditions may apply on a case-by-case basis to some grants does not justify their present

                                  16   overbroad application to seemingly any grant.

                                  17   III.   HUD CONTINUUM OF CARE GRANTS
                                  18          The HUD grant agreements that the plaintiffs highlight also use language from the

                                  19   enjoined executive orders; the HUD Continuum of Care (“CoC”) grant agreements include

                                  20   language like EO 14,218, stating that “[n]o state or unit of general local government that receives

                                  21   funding under this grant may use that funding in a manner that by design or effect facilitates the

                                  22   subsidization or promotion of illegal immigration or abets policies that seek to shield illegal aliens

                                  23   from deportation.” Dkt. No. 143, Attachment M, p. 2. The immigration conditions found in the

                                  24   HUD CoC grant agreements differ from their DOT and DHS counterparts in that they apply to the

                                  25   use of already awarded funds, they do not condition the receipt of funds.

                                  26
                                  27
                                       7
                                         As for the defendants’ argument that those terms are now beyond the scope of the Preliminary
                                       Injunction because they have been incorporated into particular grant programs, see Dkt. No. 143 at
                                  28   7, to accept that argument would be to hamstring the Preliminary Injunction.

                                                                                         7
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                                   1          Congress enacted the McKinney-Vento Homeless Assistance Act to “meet the critically

                                   2   urgent needs of the homeless of the Nation” by providing “funds for programs to assist the

                                   3   homeless, with special emphasis on elderly persons, handicapped persons, families with children,

                                   4   Native Americans, and veterans.” 42 U.S.C. §11301(b)(2)-(3). Congress, through the Act,

                                   5   provides federal funding to several programs, including the Continuum of Care program, which is

                                   6   designed to “assist individuals (including unaccompanied youth) and families experiencing

                                   7   homelessness” by providing services “to help such individuals move into transitional and

                                   8   permanent housing, with the goal of long-term stability.”8 HUD is responsible for administering

                                   9   the CoC program.

                                  10          The 2024 HUD CoC grant agreements at issue state that “[n]o state or unit of general local

                                  11   government that receives funding under this grant may use that funding in a manner that by design

                                  12   or effect facilitates the subsidization or promotion of illegal immigration or abets policies that seek
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                                  13   to shield illegal aliens from deportation.” Dkt. No. 143, Attachment M. As the thoughtful opinion

                                  14   of Judge Rothstein in King County illustrates, the defendants have no more shown a nexus

                                  15   between immigration enforcement and the kind of services that the HUD CoC grants provide—

                                  16   safety-net services for cities’ most vulnerable populations, including the homeless, veterans, and

                                  17   unaccompanied youth—than they have shown a nexus here between immigration enforcement and

                                  18   the DHS and DOT programs. See King County, 2025 WL 1582368, at *17.

                                  19          The programs that HUD CoC grants fund do not promote illegal immigration or attempt to

                                  20   shield individuals in the country illegally from deportation. Judge Rothstein’s opinion is

                                  21   persuasive and likely on all fours with the situation here. Unlike the DHS and DOT conditions,

                                  22   the HUD CoC grants are for an individual program where the funding has already been received

                                  23   by the Cities and Counties. The defendants have not yet attempted to show the required nexus.

                                  24   They may file a brief and supporting declarations on the merits of their assertion that the

                                  25   conditions are substantively related to the HUD CoC grants and should not be enjoined by July 11,

                                  26
                                       8
                                  27    Continuum of Care (CoC) Program Eligibility Requirements, HUD Exchange,
                                       https://www.hudexchange.info/programs/coc/coc-program-eligibility-requirements/, last accessed
                                  28   June 19, 2025.

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                                   1   2025. The Cities and Counties may reply by July 25, 2025, and I will rule thereafter.

                                   2   IV.       NOTICE DISCLOSURE
                                   3             The Cities and Counties also ask that I order the defendants to disclose a copy of the court-

                                   4   ordered notice they issued to all federal departments and agencies regarding the April 24, 2025,

                                   5   Preliminary Injunction Order and the May 9, 2025, Further Order. Dkt. No. 143 at 1-3.

                                   6   Defendants have thus far rejected the plaintiffs’ request, stating that since I did not order them to

                                   7   provide copies of the notice to the plaintiffs, their confirmation that the notices did go out is

                                   8   sufficient.

                                   9             Because the federal government continues to act inconsistently with my prior orders, the

                                  10   Cities and Counties’ request to know what notice was sent to agencies of the federal government

                                  11   is reasonable. The defendants are now ORDERED to provide the plaintiffs with copies of the

                                  12   notices disseminated to all federal departments and agencies by July 2, 2025.
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                                  13                                               CONCLUSION

                                  14             The Preliminary Injunction protects the Cities and Counties from the coercive impact of

                                  15   the DHS and DOT Standard Terms. The DHS Standard Terms are applied to “all new federal

                                  16   awards,” and the DOT Standard Terms have already been applied to a vast array of agency

                                  17   operations, most of which appear to have no relation to immigration enforcement or sanctuary

                                  18   policies. The defendants’ promise to apply the terms only after individualized, grant-by-grant

                                  19   assessment is empty rhetoric belied by the words of the Standard Terms and the defendants’ own

                                  20   conduct. I will allow further briefing to understand if there is a substantive relationship between

                                  21   the HUD CoC grant agreements and the Cities and Counties’ so-called sanctuary policies.

                                  22             It appears that the defendants continue to seek an end run around the Preliminary

                                  23   Injunction. There is a way, which I have suggested, for defendants to lawfully seek to achieve

                                  24   their policy objectives without attempting to coerce the Cities and Counties. I suggest that they

                                  25   use it.

                                  26             IT IS SO ORDERED.

                                  27   Dated: June 23, 2025
                                                                                                      William H. Orrick
                                  28                                                                  United States District Judge
                                                                                           9
